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                     No. 1:25-cv-10770-MJJ


    In the United States District Court
     for the District of Massachusetts


             JASON GRANT, ALLISON TAGGART,
          LISA PETERSON, AND SAMANTHA LYONS,
                            Plaintiffs,

                                v.

        TRIAL COURT OF THE COMMONWEALTH OF
         MASSACHUSETTS, BEVERLY J. CANNONE,
        GEOFFREY NOBLE, MICHAEL D’ENTREMONT,
              AND MICHAEL W. MORRISSEY,
                           Defendants,

  BRIEF OF AMICI CURIAE FIRST AMENDMENT LAWYERS
ASSOCIATION, FOUNDATION FOR INDIVIDUAL RIGHTS AND
  EXPRESSION, AND NATIONAL PRESS PHOTOGRAPHERS
 ASSOCIATION IN SUPPORT OF PLAINTIFFS’ MOTION FOR
              PRELIMINARY INJUNCTION

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                   RULE 7.1 DISCLOSURE STATEMENT

      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae First Amendment Lawyers Association (FALA) is not a

publicly held corporation and does not have any parent corporation, and that no

publicly held corporation owns 10 percent or more of any corporation’s stock.

      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae Foundation for Individual Rights and Expression (FIRE) is

not a publicly held corporation and does not have any parent corporation, and that

no publicly held corporation owns 10 percent or more of any corporation’s stock.

      Undersigned counsel certifies, pursuant to Federal Rule of Civil Procedure

7.1, that amicus curiae National Press Photographers Association (NPPA) is not a

publicly held corporation and does not have any parent corporation, and that no

publicly held corporation owns 10 percent or more of any corporation’s stock.




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                       INTEREST OF AMICI CURIAE1

      The First Amendment Lawyers Association (FALA) is a nonprofit

organization comprised of attorneys across the United States with a shared

commitment to preserving and advancing the rights guaranteed by the First

Amendment. Since its founding in the 1960s, FALA has actively participated in

cases concerning free expression, freedom of the press, and restrictions on speech

in public spaces. FALA members are often on the front lines of First Amendment

litigation, and the organization frequently appears as amicus to protect against

government encroachment on constitutional expression.

      The Foundation for Individual Rights and Expression (FIRE) is a

nonpartisan, nonprofit that defends the rights of all Americans to free speech and

free thought—the essential qualities of liberty. Since 1999, FIRE has successfully

defended First Amendment rights on college campuses nationwide through public

advocacy, targeted litigation, and amicus curiae filings in cases that implicate

expressive rights. In June 2022, FIRE expanded its advocacy beyond the university

setting and now defends First Amendment rights both on campus and in society at

large. In lawsuits across the United States, FIRE works to vindicate First

Amendment rights without regard to the speakers’ views. See, e.g., Trump v.

Selzer, No. 4:24-cv-449 (S.D. Iowa filed Dec. 17, 2024); Volokh v. James, No. 23-
    1 No counsel for a party authored this brief in whole or in part. Further, no
person, other than amici, their members, or their counsel contributed money
intended to fund this brief’s preparation or submission.
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356 (2d Cir. argued Feb. 16, 2024); Novoa v. Diaz, No. 4:22-cv-324, (N.D. Fla.,

Nov. 17, 2022), appeal docketed, No. 22-13994 (11th Cir. argued June 14, 2024);

Netchoice, LLC v. Bonta, 2025 WL 807961 (N.D. Cal. Mar. 13, 2025)). FIRE has a

longstanding interest in, among other safeguards for free speech, ensuring that

public fora, both on campus and off, remain open for free expression of all kinds.

See, e.g., Dubash v. City of Houston, 2024 WL 4355196 (S.D. Tex. Sept. 30,

2024), appeal docketed, No. 24-20485 (5th Cir.); Sanders v. Guzman, No. 1:15-cv-

426 (W.D. Tex. filed May 20, 2015); Sinapi-Riddle v. Citrus Comm. Coll., No.

CV-14-05104 (C.D. Cal. filed July 1, 2014).

      The National Press Photographers Association (NPPA) is a 501(c)(6)

nonprofit founded in 1946 to advocate for the rights of visual journalists, including

photojournalists, videographers, and multimedia reporters. NPPA promotes the

highest standards in visual journalism and works to protect its members' right to

gather and disseminate news—particularly in public places where government

efforts to limit press access can chill constitutionally protected activity. NPPA has

a long history of litigation and public advocacy on behalf of photographers and

press freedom, especially where law enforcement or judicial actions restrict

newsgathering in public forums.




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                                   ARGUMENT

      Amici are very concerned about the conduct of the police after the

amendment to the original buffer zone order (New Order). The police have

demonstrated that despite the cosmetic alterations in the New Order, they are

enforcing it in the same unconstitutional manner as in previous version: interfering

with and arresting journalists, protesters, and demonstrators based upon

constitutionally-protected activities. See Pl. Brief Ex. A-D. Journalist Thomas

Derosier was forcibly removed – and injured – by the police from the sidewalk

merely for gathering information. See Exhibit 1 (Voluntary Statement of Thomas

Derosier to the police). Demonstrator-plaintiff Jason Grant was barred from

carrying a religious sign across the street from the courthouse -- a sign that merely

quoted a Bible verse that said nothing about the trial or its participants. Pl. Ex. A.

And Demonstrator Erica Walsh was forcibly arrested and criminally charged

merely for wearing clothing on the sidewalk that stated that “Criminals Control

Norfolk County” and a hat with the initials “FKR” on it.. Pl. Ex. B. All of these

unconstitutional police actions have occurred in the last few days, under the New

Order. Such brazenly un-American acts by the police demonstrate that the New

Order is constitutionally infirm and requires a preliminary injunction to prevent

further and irreparable harm.

      1. The New Order is still unconstitutionally vague. Purportedly, it adds a


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mens rea requirement, of “intent to influence” any trial participants – a standard so

vague that it quite literally defies definition. As a matter of course, demonstrators

in any situation wish to influence whatever they are demonstrating about, whether

positively or negatively. This “intent to influence” language is thus no more than

an attempted end-run around the First Amendment. And as the police actions this

week have shown, the phrase “intent to influence” has been misinterpreted as

covering journalistic activities, that led to police interfering with and roughing-up

journalist Tom Derosier. See Exhibit 1. Per Chicago v. Morales, 527 U.S. 41, 64

(1999), the order is unconstitutionally vague, as it invests “too much discretion to

the police and too little notice to citizens who wish to use the public streets.” Quite

literally, the New Order gives the average citizen no warning – until police begin

making arrests    – that activities such as newsgathering or complaining about

corrupt officials or religious proselytizing are now prohibited.

      2. The New Order is also –still –          sweepingly overbroad, as to both

geographic scope and those people whose rights are chilled by its restrictions. By

its very language, the New Order bars all demonstrators and protests – including

those unrelated to the Karen Read trial. This means the New Order has swept away

the rights of those people who are interested in demonstrating against cases (or

issues) completely unrelated to the Karen Read criminal matter. People having

loved ones incarcerated on charges of theft or other matters are barred, as are those

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involved in civil suits.

      In addition, because the New Order reaffirms the previous order’s 200-foot

radius of the buffer zone, this zone extends far beyond the Superior Court property,

literally to the sidewalk on the opposite side of the street in front of other

courthouses, including the District Court house. See Exhibit 2. (Google Map of

courthouses showing distance less than 200 foot). Thus, a journalist covering

newsworthy events or a person demonstrating in front of the District Court across

the street on an unrelated case is subject to arrest by the police under this New

Order. This is clearly not narrowly tailored or the least restrictive means to

accomplish any goal; instead, the New Order demolishes the rights of journalists

and every Massachusetts resident attending District Court to cover the news or say

anything in protest or demonstration about anything, even if safely across the street

from the Superior Court and talking about a completely different matter.

      3. The New Order hearings in the Superior Court also do not comport with

Due Process. Although the New Order purports to grant a hearing in Superior

Court to “any person whose activity has been restricted by an officer enforcing this

order,” this hearing is worthless to victims such as Erica Walsh. As background,

persons criminally charged with violating the New Order will almost certainly be

charged with misdemeanors such as disturbing the peace, picketing, and trespass,

as Ms. Walsh was. See Pl. Ex. B. However, these crimes are misdemeanors under

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Massachusetts law. See M.G.L. c. 274 § 1 (defining felony and misdemeanors);

M.G.L. c. 268 § 120 (defining trespass); M.G.L. c. 268 § 13A (defining picketing);

M.G.L. c. 272 § 53 (disturbing the peace). Misdemeanors in Massachusetts are

given original jurisdiction in the District Court – an entity separate and distinct

from the Superior Court. M.G.L. c. 218 § 26. While the Superior Court shares

“concurrent jurisdiction” on misdemeanors with the District Court, criminal

complaints originally issue out of the District Court, after probable cause is found.

Thus a New Order hearing in the Superior Court, even if as “expeditiously as

possible,” does nothing to squelch a criminal complaint in the District Court when

it emerges unless the Superior Court is immediately going to overrule a District

Court – or preemptively prevent a criminal complaint from issuing.

      Perhaps more importantly, nothing in the New Order requires the

Commonwealth to appear at the Superior Court hearing2, nor evidence presented or

witnesses heard from, and thus it cannot be a true adversarial probable cause

hearing that could serve as a factual basis to dismiss charges. Thus, the New

Order’s Superior Court hearing is a Potemkin village – a hearing that appears to

offer speedy and efficient Due Process but in reality does nothing to effectuate or


    2 Indeed, counsel for amici observed as much first-hand at the May 20, 2025,
Superior Court New Order hearing. The Commonwealth sat in the audience and
openly stated it did not believe it had to be there, the Superior Court took no
statements or arguments from the Commonwealth, and it did not hear from any
witnesses or receive evidence during oral argument.
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protect the rights of journalists or demonstrators, because it is not empowered or

authorized to dismiss criminal charges in the District Court or otherwise conduct

probable cause hearings.

      The decision released yesterday after the hearing does not render these

issues moot. The Superior Court reinforced the criminal charges against Ms. Walsh

without a probable cause hearing or otherwise hearing evidence from her on the

issue, instead denying her any relief from the New Order’s enforcement. See

Exhibit 3 (Superior Court Order of May 21, 2025). And while the decision did find

that Mr. Derosier and Mr. Grant did not violate the New Order, there was no

requirement that police cease and desist removing and/or barring them from the

buffer zone. As this latest decision came 72 hours after the their removal/barring,in

a trial that lasts only weeks, three days to gain relief is a huge infringement upon

First Amendment activities, especially those related to the gathering and

dissemination of news, where time is of the essence. Thus, the Superior Court’s

hearing process does not save the New Order from violating constitutional rights or

render these issues moot.

      4. Finally, the New Order is a classic prior restraint that restricts freedom of

the press and speech in quintessential traditional public fora—sidewalks and streets

surrounding a courthouse—and thus triggers strict scrutiny, a standard it fails

because it sweeps far more broadly than necessary to serve any compelling

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governmental interest. United States v. Kokinda, 497 U.S. 720, 743 (1990) Reed v.

Town of Gilbert, 576 U.S. 155, 171 (2015), and fails to leave open ample

alternative channels for gathering the news. To be sure, courts have over time have

recognized “jurisprudential inconsistencies that plague the public forum doctrine”

and “confusion that has permeated courts’ opinions across the land, percolating for

decades,” e.g., Mitchell v. Maryland Motor Vehicle Admin., 148 A.3d 319, 331 &

n.13 (Md. 2016) (collecting cases), so to any extent that speech regulations in

traditional public fora must be content-based to trigger strict scrutiny, see, e.g.,

Minnesota Voters Alliance v. Mansky, 585 U.S. 1, 11 (2018); March v. Mills, 867

F.3d 46, 54 (1st Cir. 2017); but see, e.g., Brindley v. City of Memphis, 934 F.3d

461, 467 (6th Cir. 2019), the New Order qualifies, as the Plaintiffs illustrate. The

New Order bars all content that can be construed as “demonstrating,” and therefore

is a content-based restriction triggering strict scrutiny.

      Here, the New Order is not narrowly tailored; it sweeps across the street,

chills newsgathering activities, and obliterates the rights of anyone to demonstrate

for any purpose (including religious proselytization, see Pl. Ex. A), all while

offering no real remedies or ample alternative channels for speech, and “burden[s]

substantially more speech than is necessary to further the government's legitimate

interests.” McCullen v. Coakley, 573 U.S. 464, 486, (2014) (quoting Ward, 491

U.S. at 799). Hence, under either strict scrutiny or intermediate scrutiny, the New

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Order fails to deliver.

                                 CONCLUSION

      For all the reasons set forth above, a preliminary injunction should enter.

The constitutional violations continue to pile up due to the New Order’s vagueness,

overbreadth, and lack of narrow-tailoring. Each day the New Order remains in

effect, the rights of journalists to gather and disseminate news, and people to

demonstrate, protest, inform, proselytize, or argue is deeply infringed. For all of

the above reasons, amici agree with Plaintiffs that the District Court should enter a

preliminary injunction.




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                      CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rules of Civil Procedure, I certify the following:

1.   This brief contains 1442 words, excluding the parts of the brief exempted.

2.   This brief was prepared in a proportionately spaced typeface using Microsoft

Word Times New Roman 14-point font.




Dated: May 22, 2025                         /s/ John G. Mateus, Esq.
                                            John G. Mateus, Esq.




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                      CERTIFICATE OF SERVICE
           The undersigned certifies that an electronic copy of this document was

     filed with the Clerk of the Court for the United States District Court for the

     District of Massachusetts using the CM/ECF system. The undersigned also

     certifies all parties in this case are represented by counsel who are registered

     CM/ECF users, and that service of the brief will be accomplished by the

     CM/ECF system.

Dated: May 22, 2025                               /s/ John G. Mateus, Esq.
                                                  John G. Mateus, Esq.




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                          EXHIBIT 1
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 I make this voluntary statement of my own free will. absent coercion or duress. I have read each page of this statement consisting
 of   -L page{s). each page of which bears my signature. Corrections, If any. bear my Initials. I certify that the facts contained
 herein are true and correct. Statements on this form are made under the penalties of perjury. False statements shall be prosecuted
 under the provisions of MGL Ch. 268. s 2. Ch. 268, s 6, and or Ch. 269. s 13A.


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 The mission ofthe Dedham Pol/ce Department is t o prot ect and serve the citizens of Dedham through
collaboration, preventative programs and the Judicious enforcement of the laws of the Commonwealth
                      of Massachusetts and the by -laws of the Town of Dedham.
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